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  10 AIR MENZIES INTERNATIONAL
     (USA), INC., and MENZIES
  11 AVIATION (USA), INC.

  12

  13                          UNITED STATES DISTRICT COURT
  14               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15

  16 DANNY LOPEZ, individually, and on              Case No. 2:21-cv-07108
        behalf of all other aggrieved employees,
  17                                                DEFENDANTS AIRCRAFT
                                      Plaintiff,    SERVICES INTERNATIONAL, INC.,
  18                                                AIR MENZIES INTERNATIONAL
                      vs.                           (USA), INC., AND MENZIES
  19                                                AVIATION (USA), INC’S NOTICE OF
        AIRCRAFT SERVICE                            REMOVAL OF ACTION (FEDERAL
  20 INTERNATIONAL, INC., a corporation;            QUESTION JURISDICTION)
        AIR MENZIES INTERNATIONAL
  21 (USA), INC., a corporation; MENZIES
     AVIATION (USA), INC., a corporation;           Filed concurrently with:
  22 and DOES 1 through 50, inclusive,
                                                    i.     Declaration of Christopher Ward;
  23                               Defendants.
                                                    ii.    Civil Cover Sheet;
  24                                                iii.   Disclosure Statement and
                                                           Certification and Notice Interested
  25
                                                           Parties; and
  26                                                iv.    Proof of Service
  27

  28

                                       DEFENDANTS’ NOTICE OF REMOVAL OF ACTION
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    1              TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
    2   THE CENTRAL DISTRICT OF CALIFORNIA:
    3              PLEASE TAKE NOTICE that Defendants AIRCRAFT SERVICE
    4   INTERNATIONAL, INC. (“ASIG”), AIR MENZIES INTERNATIONAL (USA), INC.,
    5   AND MENZIES AVIATION (USA), INC. (hereinafter referred to as “Defendants”)
    6   pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, as well as the provisions of the Railway
    7   Labor Act (“RLA”), 45 U.S.C. § 151 et seq., hereby invokes this Court’s jurisdiction and
    8 removes the above-captioned case, pending in the Superior Court of California, Los

    9 Angeles County, Case No. 21STCV26797 to the United States District Court for the

  10 Central District of California on the following grounds:

  11               1.   On July 21, 2021, Plaintiff Danny Lopez (“Plaintiff”) commenced this
  12 action by filing an unverified Complaint in the Superior Court of California, County of

  13 Los Angeles, entitled “DANNY LOPEZ, individually, and on behalf of all other

  14 aggrieved employees v. AIRCRAFT SERVICE INTERNATIONAL, INC., a corporation;

  15 AIR MENZIES INTERNATIONAL (USA), INC., a corporation; MENZIES AVIATION

  16 (USA), INC., a corporation; and DOES 1 through 50, inclusive” Case No. 21STCV26797

  17 (the “Complaint”). Defendants received service of the Complaint on or around August 3,

  18 2021. [Declaration of Christopher Ward (“Ward Decl.”), ¶ 2.] A true and correct copy of

  19 Plaintiff’s Complaint is attached to the Declaration of Christopher Ward as Exhibit A.

  20               2.   The Complaint alleges a single cause of action under the California Private
  21    Attorneys’ General Act (“PAGA”), which is premised on the following alleged violations
  22    of the California Labor Code: (1) Failure to Provide Meal Periods; (2) Failure to Provide
  23    Rest Periods; (3) Failure to Pay Overtime Wages; (4) Failure to Pay Minimum Wages;
  24    (5) Failure to Permit Inspection of Records; (6) Failure to Timely Pay Wages; (7) Failure
  25 to Pay All Wages Upon Termination; (8) Failure to Provide Accurate Itemized Wage

  26    Statements; and (9) Failure to Reimburse.
  27               3.   A true and correct copy of the state court docket in the Superior Court of
  28    California, County of Los Angeles is attached to the Ward Declaration as Exhibit C.

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    1              4.   As demonstrated below, this Court has original jurisdiction over Plaintiff’s
    2   claims.
    3          I.       THIS ACTION IS SUBJECT TO REMOVAL ON THE BASIS OF
    4                   FEDERAL QUESTION JURISDICTION
    5              5.   Plaintiff was employed by Defendant ASIG, but has no employment
    6   relationship with either Air Menzies International (USA), Inc. or Menzies Aviation
    7   (USA), Inc. [Ward Decl, ¶7.]
    8              6.   During his employment with ASIG, Plaintiff was a member of and
    9   represented by TEAMSTERS LOCAL #986 (the “Union”). [See Ward Decl., ¶8.]
  10               7.   Defendant ASIG and the Union representing Plaintiff are parties to a
  11    collective bargaining agreement and related memorandums of agreement (the “CBA”)
  12    that was and remain in force for the duration of Plaintiff’s employment. [Ward Decl.,
  13    ¶8.] The CBA contains a “complete agreement on wages, hours of work, [and] working
  14    conditions,” for employees, including Plaintiff during his employment. [Ward Decl.,¶8,
  15    Exhibit D, p. 2.]
  16               8.   Specifically, the CBA contains express provisions regarding overtime
  17    provisions and when and how employees covered by the CBA are entitled to premium
  18    wages for hours worked in excess of certain daily and weekly thresholds. [Ward Decl.,
  19    ¶8, Exhibit D, pp. 8-9, 19.] The CBA also contains provisions pertaining to meal periods.
  20    [Ward Decl., ¶8, Exhibit D, p. 10] Additionally, the CBA contains provisions regarding
  21    payment of costs to covered employees associated with potential expenses associated
  22    with wearing and maintaining employee uniforms. [Ward Decl., ¶8, Exhibit D, p. 16.]
  23               9.   California Labor Code § 510 establishes California’s requirement for
  24 payment of overtime wages for hours of work in excess of eight in one day and/or 40 in

  25 one week. However, Section 514 of the Labor Code provides that Section 510’s

  26 requirements “do not apply to an employee covered by a valid collective bargaining

  27 agreement if the agreement expressly provides for the wages, hours of work, and working

  28 conditions of the employees, and if the agreement provides premium wage rates for all

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    1   overtime hours worked.”
    2              10.   Labor Code Section 512(d) also states that if an employee is covered by a
    3   valid collective bargaining agreement that provides for meal periods and includes a
    4   monetary remedy if the employee does not receive a meal period required by the
    5   agreement, then the terms, conditions and remedies of the collective bargaining
    6   agreement pertaining to meal periods apply in lieu of the otherwise applicable provisions
    7   pertaining to meal periods in Labor Code § 226.7(a) and Industrial Welfare Commission
    8 Wage Orders 11 and 12.

    9              11.   The CBA expressly provides for wages, hours of work and working
  10 conditions of covered employees, and further provides for premium wages for overtime

  11 hours. [Ward Decl., ¶8, Exhibit D, pp. 8-9, 19.] Accordingly, per the express provisions

  12 of Labor Code § 514, the overtime requirements of Labor Code § 510 do not apply to

  13 Plaintiff and other similarly situated individuals he seeks to represent who are covered by

  14 the CBA. Plaintiff’s overtime claims thus necessarily implicate and require interpretation

  15 of the CBA’s provisions.

  16               12.   The CBA also addresses employee meal period rights and creates remedies
  17 for all violations of CBA-covered rights such as meal periods. [Ward Decl., ¶8, Exhibit

  18 D, p. 9.] Accordingly, per the express provisions of Labor Code § 512(d), Labor Code §

  19 226.7(a) and the meal period provisions of Wage Orders 11 and 12 do not apply to

  20 Plaintiff or to other similarly situated individuals he seeks to represent who are covered

  21 by the CBA.

  22               13.   Plaintiff alleges that Defendants failed to properly pay overtime to himself
  23 and others under the requirements of Labor Code § 510. However, Plaintiff’s overtime

  24 allegations are not dependent exclusively upon the state overtime rights created by Labor

  25 Code § 510. Rather, because California’s statutory overtime provisions do not apply to

  26 employees covered by a collective bargaining agreement that independently addresses

  27 overtime hours and premium pay, Plaintiff’s allegations of improper overtime pay are in

  28 actuality allegations of failure to abide by the terms of the CBA. See Firestone v. So.

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    1   Cal. Gas Co., 219 F.3d 1063, 1068 (9th Cir. 2000) (noting that where employees have
    2   opted out of California’s overtime provisions through a collective bargaining agreement,
    3   a claim for unpaid overtime is preempted by the LMRA); see also McCray v. Marriott
    4   Hotel Services, Inc., 902 F.3d 1005 (2018) (the preemptive force of the Railway Labor
    5   Act is “virtually identical” to that of the LMRA); Hawaiian Airlines, Inc. v. Norris, 512
    6   U.S. 246, 252 (1994) (holding that the preemption standard under Section 301 of the
    7   LMRA is also appropriate for addressing questions of RLA preemption).
    8              14.   Further, Plaintiff alleges that Defendants failed to properly provide meal
    9   periods to him and others under the requirements of Labor Code §§ 226.7(a) and 512, as
  10    well as Wage Order 10.1 However, Plaintiff’s meal period allegations are not dependent
  11    exclusively upon the meal period rights created by these provisions. Rather, because
  12    California’s statutory meal period penalty provisions can be modified for employees
  13    covered by a collective bargaining agreement that independently addresses penalty and
  14    premium pay, Plaintiff’s allegations of improper meal periods and associated alleged
  15    penalties are in actuality allegations of failure to abide by the terms of the CBA.
  16               15.   Labor Code § 2802 additionally requires that employers indemnify
  17    employees for all necessary expenditures incurred by the employee in direct discharge of
  18    the employee’s duties. However, the California Supreme Court has expressly recognized
  19    that under Labor Code § 2802, the reimbursement of employee-incurred expenses may be
  20    properly the subject of negotiation and agreement between the employer and employees
  21    provided that the agreement provides reimbursement for anticipated employee expenses.
  22    See Gattuso v. Harte-Hanks Shoppers, Inc., 42 Cal. 4th 554, 569-70 (2007).
  23               16.   Plaintiff alleges that Defendants failed to indemnify him and others for
  24    expenses including expenses relating to uniform use. The CBA expressly provides that
  25    ASIG will furnish and maintain all uniforms, including the laundering thereof, at no cost
  26    to employees, as well as provide a sufficient supply of gloves. In accordance with
  27
        1
  28      Defendants dispute these factual allegations and Plaintiff’s assertions of law, including
        the specific Wage Order which he contends applies to his individual situation.
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    1   Gattuso, employees such as Plaintiff have negotiated terms and conditions related to
    2   potential expenses associated with wearing and maintaining employee uniforms. [Ward
    3   Decl., ¶8, Exhibit D, p. 16.] Plaintiff’s reimbursement claims thus necessarily implicate
    4   and require interpretation of the CBA’s provisions.
    5              17.   The RLA creates “a comprehensive framework for resolving labor disputes”
    6 in the rail and airline industries. Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246, 252

    7   (1994). Within this framework, labor disputes are first categorized as “representation,”
    8   “major,” or “minor,” according to their subject matter, then assigned to a corresponding
    9   dispute-resolution mechanism. See W. Airlines, Inc. v. Int’l Bhd. of Teamsters, 480 U.S.
  10    1301, 1302-03 (1987) (O’Connor, J., in chambers).
  11               18.   State law claims are minor disputes under the RLA where they are those
  12    “growing out of grievances or . . . the interpretation or application of agreements
  13    covering rates of pay, rules, or working conditions.” 45 U.S.C. § 151a; Consol. Rail
  14    Corp. v. Ry. Labor Execs.’ Ass’n (Conrail), 491 U.S. 299, 303 (1989).
  15               19.   The United States Supreme Court has stated that federal law should govern
  16    actions concerning the interpretation and enforcement of collective bargaining
  17    agreements. See Steelworkers v. Rawson, 495 U.S. 362, 368 (1990); Textile Workers v.
  18    Lincoln Mills, 353 U.S. 448 (1957). The RLA preempts state law claims that are based
  19    upon, or require interpretation of, a collective bargaining agreement. Matson v. United
  20    Parcel Serv., Inc., 840 F.3d 1126, 1132-33 (9th Cir. 2016); Kobold v. Good Samaritan
  21    Reg’l Med. Ctr., 832 F.3d 1024, 1032-33 (9th Cir. 2016); Allis-Chalmers Corp. v. Lueck,
  22    471 U.S. 202, 220 (1985); Cramer v. Consol. Freightways, Inc., 255 F.3d 683, 693 (9th
  23    Cir. 2001) (en banc). Furthermore, because the RLA preempts state law claims that
  24    allege a violation of or require interpretation of a collective bargaining agreement, the
  25    United States District Court has original jurisdiction over such claims and state law
  26    actions may be properly removed to federal court. See, e.g., Moore-Thomas v. Alaska
  27    Airlines, Inc., 553 F.3d 1241, 1243-1244 (9th Cir. 2009)
  28               20.   In the present matter, because payment of overtime, meal periods and

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    1   potential penalties are subjects of the CBA as is proper under Labor Code §§ 226.7(a),
    2   512(d) and 514, Plaintiff’s claims for failure to pay proper overtime and meal periods are
    3   dependent upon proof of a violation of the terms of the CBA with respect to both himself
    4   and all others who he seeks to represent covered by the CBA. The issue of whether
    5   Plaintiff and others have been paid proper overtime and/or for alleged missed or
    6   otherwise allegedly unlawful meal periods thus cannot be resolved without interpreting
    7   the overtime provisions of the CBA itself.
    8              21.   Additionally, the CBA expressly addresses employee related expenses,
    9 including uniform expenses. To determine whether Plaintiff has any possible claim

  10 under Labor Code § 2802, interpretation of the CBA will be required to assess whether

  11    the expenses claimed by Plaintiff and those he seeks to represent are covered by the
  12    provisions of the CBA. Plaintiff’s alleged failure to indemnify employee expenses
  13    allegations thus cannot be resolved without reference to, and interpretation and
  14    application of, the reimbursement and employee expense provisions of the CBA
  15               22.   Further, in addition to the employees subject to the CBA, various employee
  16    groups working for one or more Defendants in California are covered by collective
  17    bargaining agreements that have been negotiated with several different unions – separate
  18    and apart from the CBA applicable to Plaintiff and other employees who work at Los
  19    Angeles International Airport – which also address wages, hours, and other terms and
  20 conditions of employment. [Ward Decl., ¶8, Exhibit D.]

  21               23.   Because Plaintiff’s overtime, meal period and expense indemnification
  22 claims each require interpretation of the CBA, those claims are preempted by the RLA

  23 and this Court has original federal question jurisdiction over such claims. Rawson, 495

  24 U.S. at 368; Lueck, 471 U.S. at 220; Cramer, 255 F.3d at 693. This Court likewise has

  25 original federal jurisdiction over the alleged overtime, meal period and expense

  26 indemnification class claims Plaintiff purports to bring on behalf of other of Defendants’

  27 employees covered by different collective bargaining agreements. Removal of such

  28 claims is thus proper under 28 U.S.C. §§ 1331 and 1441 as one in which the federal

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    1   district courts have original jurisdiction. Ramirez, 998 F.2d at 747.
    2              24.   Because this Court has original jurisdiction over Plaintiff’s overtime, meal
    3   period and reimbursement claims, it further has jurisdiction over the entire action
    4   because, where a plaintiff brings both preempted and non-preempted state law claims as
    5   part of the same action, the non-preempted state law claims are also properly removable
    6   under 28 U.S.C. § 1367. See Beneficial Nat’l Bank v. Anderson, 535 U.S. 1, 8 n.3 (2003).
    7              25.   The mechanisms prescribed by the RLA are the sole method for adjudicating
    8   minor disputes. Id. at 516. Accordingly, Plaintiffs’ claims are preempted by the RLA and
    9   are removable to federal court under 28 U.S.C. § 1331. See, e.g., Hammond v. Terminal
  10    R.R. Ass’n of St. Louis, 848 F.2d 95, 97 (7th Cir. 1988) (holding that plaintiff’s claim
  11    under state law was actually a minor dispute and was properly removed to federal court).
  12               25.   Removal of entire Complaint is thus proper under 28 U.S.C. §§ 1331, 1367
  13    and 1441 as one in which the federal district courts have original jurisdiction. Ramirez,
  14    998 F.2d at 747.
  15          II.        THIS NOTICE OF REMOVAL IS TIMELY
  16               26.   This Notice of Removal is timely under 28 U.S.C. § 1446(b) because this
  17    removal is being filed within 30 days of service of the Complaint.
  18        III.         THE OTHER REQUIREMENTS FOR REMOVAL ARE MET
  19               27.   Removal to this Court is proper as the Superior Court of the State of
  20    California, County of Los Angeles, where this action was originally filed, is located
  21    within this district.
  22               28.   Defendants believe that the documents contained in Exhibit A to the Ward
  23 Declaration comprise the complete record of filings made in the Superior Court of

  24 California, County of Los Angeles.

  25               29.   This Court has original jurisdiction over all causes of action alleged in this
  26 matter pursuant to the provisions of 28 U.S.C. § 1332 and the entire action may be

  27 removed to this Court pursuant to the provisions of 28 U.S.C. § 1441.

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    1              30.   Pursuant to 28 U.S.C. § 1446(d), Defendants are filing written notice of this
    2   removal with the clerk of the Superior Court for the State of California, County of Los
    3   Angeles. Copies of the Notice of Removal are also being served on Plaintiff’s counsel
    4   pursuant to 28 U.S.C. § 1446(d).
    5              31.   Wherefore, Defendants pray that this action be removed from the Superior
    6 Court of California, County of Los Angeles to the United States District Court for the

    7 Central District of California, and for such further relief as may be just and proper.

    8              32.   This Notice of Removal is filed subject to and with full reservation of rights,
    9 including but not limited to, defenses and objections to venue, improper service of

  10 process, and personal jurisdiction. No admission of fact, law or liability is intended by

  11 this Notice of Removal, and all defenses, motions and pleas are expressly reserved.

  12

  13
        DATED: September 2, 2021                     FOLEY & LARDNER LLP
  14
                                                     Christopher Ward
  15                                                 Kevin Jackson
  16

  17
                                                     /s/ Christopher Ward
  18                                                 Christopher Ward
                                                     Attorneys for Defendants AIRCRAFT
  19                                                 SERVICE INTERNATIONAL, INC.,
                                                     AIR MENZIES INTERNATIONAL
  20                                                 (USA), INC., and MENZIES
                                                     AVIATION (USA), INC.
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